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EXHIBIT 2



           US7187706                                         Nexgo N5 POS (“The accused product”)
1. An improvement method to a      A system, spread-spectrum system, utilized by the accused product practices an improvement
frequency division duplex (FDD)    method to a frequency division duplex (FDD) distributed-network (e.g., a network comprising
distributed-network,     spread-   the accused product with 802.11b/g/n capability, another product/device to which the accused
spectrum system comprising the     product can communicate via 802.11b/g/n communication, and several base stations).
steps of:
                                   The accused product has LTE-FDD and 802.11 capabilities.




                                   https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf




                                   https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 2 of 187 PageID #: 22

EXHIBIT 2



                          https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf




                          https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/frequency-
                          bands-channels-spectrum.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 3 of 187 PageID #: 23

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                          https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/frequency-
                          bands-channels-spectrum.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 4 of 187 PageID #: 24

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                          https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/ofdm-
                          ofdma-scfdma-modulation.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 5 of 187 PageID #: 25

EXHIBIT 2




                          https://www.3gpp.org/technologies/keywords-acronyms/98-lte
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 6 of 187 PageID #: 26

EXHIBIT 2




                          Source: "LTE Standards" By Jean-Gabriel Rémy, Charlotte Letamendia
                          https://onlinelibrary.wiley.com/doi/book/10.1002/9781119043508
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 7 of 187 PageID #: 27

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                          https://www.3gpp.org/technologies/keywords-acronyms/98-lte
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 8 of 187 PageID #: 28

EXHIBIT 2




                          http://morse.colorado.edu/~tlen5510/text/classwebch8.html




                          https://www.3gpp.org/technologies/keywords-acronyms/98-lte
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 9 of 187 PageID #: 29

EXHIBIT 2




                          https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/tdd-fdd-td-
                          lte-duplex-schemes.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 10 of 187 PageID #: 30

EXHIBIT 2




                          https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/tdd-fdd-td-
                          lte-duplex-schemes.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 11 of 187 PageID #: 31

EXHIBIT 2




                          https://www.rcrwireless.com/20140509/evolved-packet-core-epc/lte-network-
                          diagram#prettyPhoto/5/
                  Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 12 of 187 PageID #: 32

EXHIBIT 2




                                      http://hershenq.blogspot.com/2012/03/architecture-of-lte-network-and-working.html

transmitting, using radio waves,      The system utilized by the accused product practices transmitting, using radio waves, from a first
from a first base station (BS),       base station (BS) (e.g., a serving cell for a user equipment), located in, and part of, the FDD
located in, and part of, the FDD      distributed network, a first BS-packet signal (e.g., a reference signal) at a first frequency (e.g., a
distributed network, a first BS-      first frequency) and receiving at a remote station (RS) (e.g., the accused product) the first BS-
packet signal at a first frequency;   packet signal (e.g., a reference signal), thereby obtaining a first RS-received signal (e.g., a
receiving at a remote station (RS)    demodulated signal from a first reference signal received from the serving cell to determine
the first BS-packet signal, thereby   RSRP value for inter-frequency cell reselection).
obtaining a first RS-received
signal;
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                          https://www.etsi.org/deliver/etsi_ts/136500_136599/13652103/10.00.00_60/ts_13652103v1000
                          00p.pdf
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EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 15 of 187 PageID #: 35

EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                          pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 25 of 187 PageID #: 45

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                          https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                          pdf
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EXHIBIT 2


transmitting, using radio waves,     The system utilized by the accused product practices transmitting, using radio waves, from a
from a second base station a         second base station (e.g., a cell other than the serving cell of a user equipment) a second BS-
second BS-packet signal at a         packet signal (e.g., a reference signal from a cell other than the serving cell) at a second frequency
second frequency, with the second    (e.g., inter-frequency cell reselection, a cell operates at different carrier frequency, i.e., reference
frequency different from the first   signal frequency, than the serving cell of a user equipment), with the second frequency different
frequency;                           from the first frequency and receiving at said remote station (e.g., the accused product) the second
receiving at said remote station     BS-packet signal (e.g., a reference signal from a cell other than the serving cell) at the second
the second BS-packet signal at the   frequency, thereby obtaining a second RS-received signal (e.g., a demodulated signal from a
second     frequency,     thereby    reference signal received from a cell other than the serving cell to determine RSRP value for
obtaining a second RS-received       inter-frequency cell reselection).
signal;
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                          https://www.etsi.org/deliver/etsi_ts/136500_136599/13652103/10.00.00_60/ts_13652103v1000
                          00p.pdf
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EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
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                          https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                          pdf
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EXHIBIT 2


monitoring at said remote station        The accused product practices monitoring a first signal metric (e.g., a RSRP value of the
a first signal metric of the first RS-   reference signal of the serving cell) of the first RS-received signal (e.g., a demodulated signal
received signal, and a second            from a first reference signal received from the serving cell to determine RSRP value for inter-
signal metric of the second RS-          frequency cell reselection), and a second signal metric (e.g., a RSRP value of the reference signal
received signal; and                     of the cell other than the serving cell) of the second RS-received signal (e.g., a demodulated
                                         signal from a second reference signal received from a cell other than the serving cell to determine
                                         RSRP value for inter-frequency cell reselection).




                                         https://www.etsi.org/deliver/etsi_ts/136500_136599/13652103/10.00.00_60/ts_13652103v1000
                                         00p.pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
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                          https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                          pdf
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determining at said remote station    The accused product practices determining that the first signal metric (e.g., a first RSRP value
that the first signal metric of the   related to a first reference signal) of the first RS-received signal (e.g., a first reference signal
first RS-received signal falls        received from the serving cell) falls below a threshold, and that the second signal metric (e.g., a
below a threshold, and that the       second RSRP value related to a second reference signal) of the second RS-received signal (e.g.,
second signal metric of the second    a second reference signal received from a cell other than the serving cell) is above the threshold,
RS-received signal is above the       and that the second base station has available capacity (e.g., the accused product determines that
threshold, and that the second base   a cell other than the serving cell is suitable cell), thereby determining to change base stations
station has available capacity,       (e.g., inter-frequency cell reselection).
thereby determining to change
base stations.
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                          https://www.etsi.org/deliver/etsi_ts/136500_136599/13652103/10.00.00_60/ts_13652103v1000
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136300/08.07.00_60/ts_136300v080700p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          pdf
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                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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                          https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
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                          https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
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                                  https://www.etsi.org/deliver/etsi_ts/136300_136399/136300/08.07.00_60/ts_136300v080700p.
                                  pdf

6. An improvement to a spread- A system utilized by the accused product is an improvement to a spread-spectrum system.
spectrum system comprising:
                               The accused product has LTE-FDD and 802.11 capabilities.
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                          https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf




                          https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf




                          https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf
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                          bands-channels-spectrum.php
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                          bands-channels-spectrum.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 72 of 187 PageID #: 92

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                          https://www.3gpp.org/technologies/keywords-acronyms/98-lte




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EXHIBIT 2




                                  Source: "LTE Standards" By Jean-Gabriel Rémy, Charlotte Letamendia
                                  https://onlinelibrary.wiley.com/doi/book/10.1002/9781119043508

a frequency division duplex The system utilized by the accused product comprises a frequency division duplex (FDD),
(FDD), distributed network; distributed network (e.g., a network comprising the accused product with 802.11b/g/n capability,
                            another product/device to which the accused product can communicate via 802.11b/g/n
                            communication, and several base stations).
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 74 of 187 PageID #: 94

EXHIBIT 2




                          https://www.3gpp.org/technologies/keywords-acronyms/98-lte




                          https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/tdd-fdd-td-
                          lte-duplex-schemes.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 75 of 187 PageID #: 95

EXHIBIT 2




                          https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/tdd-fdd-td-
                          lte-duplex-schemes.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 76 of 187 PageID #: 96

EXHIBIT 2




                          https://www.rcrwireless.com/20140509/evolved-packet-core-epc/lte-network-
                          diagram#prettyPhoto/5/
                 Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 77 of 187 PageID #: 97

EXHIBIT 2




                                     http://hershenq.blogspot.com/2012/03/architecture-of-lte-network-and-working.html

a first base station (BS), located   The system utilized by the accused product comprises a first base station (BS) (e.g., a serving
in, and part of, the FDD             cell for a user equipment), located in, and part of, the FDD distributed network, for transmitting,
distributed      network,      for   using radio waves, a first BS-packet signal (e.g., a reference signal) at a first frequency (e.g., a
transmitting, using radio waves, a   first frequency).
first BS-packet signal at a first
frequency;
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 78 of 187 PageID #: 98

EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136500_136599/13652103/10.00.00_60/ts_13652103v1000
                          00p.pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 79 of 187 PageID #: 99

EXHIBIT 2




                          https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                          pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 80 of 187 PageID #: 100

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 81 of 187 PageID #: 101

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 82 of 187 PageID #: 102

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 83 of 187 PageID #: 103

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 84 of 187 PageID #: 104

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 85 of 187 PageID #: 105

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 86 of 187 PageID #: 106

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 87 of 187 PageID #: 107

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 88 of 187 PageID #: 108

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 89 of 187 PageID #: 109

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 90 of 187 PageID #: 110

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                           pdf
                Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 91 of 187 PageID #: 111

EXHIBIT 2


a second base station, located in,   The system utilized by the accused product comprises a second base station (e.g., a cell other
and part of, the FDD distributed     than the serving cell of a user equipment), located in, and part of, the FDD distributed network,
network, for transmitting, using     for transmitting, using radio waves, a second BS-packet signal (e.g., a reference signal) at a
radio waves, a second BS-packet      second frequency (e.g., inter-frequency cell reselection, a cell operates at different carrier
signal at a second frequency, with   frequency than the serving cell of a user equipment) , with the second frequency different from
the second frequency different       the first frequency.
from the first frequency;




                                     https://www.etsi.org/deliver/etsi_ts/136500_136599/13652103/10.00.00_60/ts_13652103v1000
                                     00p.pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 92 of 187 PageID #: 112

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 93 of 187 PageID #: 113

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 94 of 187 PageID #: 114

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 95 of 187 PageID #: 115

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 96 of 187 PageID #: 116

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 97 of 187 PageID #: 117

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 98 of 187 PageID #: 118

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 99 of 187 PageID #: 119

EXHIBIT 2




                           https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                           pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 100 of 187 PageID #: 120

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 101 of 187 PageID #: 121

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 102 of 187 PageID #: 122

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 103 of 187 PageID #: 123

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                            pdf
                Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 104 of 187 PageID #: 124

EXHIBIT 2


a remote station (RS) for receiving   The system utilized by the accused product comprises a remote station (RS) (e.g., the accused
the first BS-packet signal and the    product) for receiving the first BS-packet signal (e.g., a first reference signal from the serving
second BS-packet signal, and          cell) and the second BS-packet signal (e.g., a second reference signal from a cell other than the
thereby determining a first RS-       serving cell), and thereby determining a first RS-received signal (e.g., a demodulated signal from
received signal and a second RS-      a first reference signal received from the serving cell to determine RSRP value for inter-
received signal, respectively; and    frequency cell reselection) to determine and a second RS-received signal (e.g., a demodulated
                                      signal from a second reference signal received from a cell other than the serving cell to determine
                                      RSRP value for inter-frequency cell reselection), respectively.

                                      The accused product has LTE-FDD and 802.11 capabilities.




                                      https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf




                                      https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 105 of 187 PageID #: 125

EXHIBIT 2




                            https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf




                            https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/frequency-
                            bands-channels-spectrum.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 106 of 187 PageID #: 126

EXHIBIT 2




                            https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/frequency-
                            bands-channels-spectrum.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 107 of 187 PageID #: 127

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136500_136599/13652103/10.00.00_60/ts_13652103v1000
                            00p.pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 108 of 187 PageID #: 128

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 109 of 187 PageID #: 129

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 110 of 187 PageID #: 130

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 111 of 187 PageID #: 131

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 112 of 187 PageID #: 132

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 113 of 187 PageID #: 133

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 114 of 187 PageID #: 134

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 115 of 187 PageID #: 135

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 116 of 187 PageID #: 136

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 117 of 187 PageID #: 137

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 118 of 187 PageID #: 138

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 119 of 187 PageID #: 139

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                            pdf
                 Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 120 of 187 PageID #: 140

EXHIBIT 2


said      remote     station      for   The accused product practices determining that a first signal (e.g., a first RSRP value related to
determining that a first signal falls   a first reference signal) falls below a threshold and that a second signal metric (e.g., a second
below a threshold and that a            RSRP value related to a second reference signal) of the second RS-received signal (e.g., a second
second signal metric of the second      reference signal received from a cell other than the serving cell) is above the threshold, and that
RS-received signal is above the         the second base station has available capacity (e.g., the accused product determines that a cell
threshold, and that the second base     other than the serving cell is suitable cell), thereby deciding to change base stations (e.g., inter-
station has available capacity,         frequency cell reselection).
thereby deciding to change base
stations.




                                        https://www.etsi.org/deliver/etsi_ts/136500_136599/13652103/10.00.00_60/ts_13652103v1000
                                        00p.pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 121 of 187 PageID #: 141

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 122 of 187 PageID #: 142

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 123 of 187 PageID #: 143

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 124 of 187 PageID #: 144

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 125 of 187 PageID #: 145

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 126 of 187 PageID #: 146

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 127 of 187 PageID #: 147

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 128 of 187 PageID #: 148

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 129 of 187 PageID #: 149

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 130 of 187 PageID #: 150

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 131 of 187 PageID #: 151

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                            pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 132 of 187 PageID #: 152

EXHIBIT 2




                            https://www.etsi.org/deliver/etsi_ts/136100_136199/136133/08.02.00_60/ts_136133v080200p.
                            pdf
               Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 133 of 187 PageID #: 153

EXHIBIT 2




                                  https://www.etsi.org/deliver/etsi_ts/136300_136399/136300/08.07.00_60/ts_136300v080700p.
                                  pdf

10. An improvement to a spread A system utilized by the accused product is an improvement to a spread-spectrum system.
spectrum system comprising:
                               The accused product has LTE-FDD and 802.11a/b/n capabilities.

                                  The accused product has LTE-FDD and 802.11 capabilities.
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 134 of 187 PageID #: 154

EXHIBIT 2




                            https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf




                            https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf




                            https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 135 of 187 PageID #: 155

EXHIBIT 2




                            https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/frequency-
                            bands-channels-spectrum.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 136 of 187 PageID #: 156

EXHIBIT 2




                            https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/frequency-
                            bands-channels-spectrum.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 137 of 187 PageID #: 157

EXHIBIT 2




                            https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/frequency-
                            bands-channels-spectrum.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 138 of 187 PageID #: 158

EXHIBIT 2




                            https://www.3gpp.org/technologies/keywords-acronyms/98-lte
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 139 of 187 PageID #: 159

EXHIBIT 2




                            https://www.3gpp.org/technologies/keywords-acronyms/98-lte




                            http://morse.colorado.edu/~tlen5510/text/classwebch8.html
               Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 140 of 187 PageID #: 160

EXHIBIT 2




                                  Source: "LTE Standards" By Jean-Gabriel Rémy, Charlotte Letamendia
                                  https://onlinelibrary.wiley.com/doi/book/10.1002/9781119043508

a frequency division duplex The system utilized by the accused product comprises a frequency division duplex (FDD),
(FDD), distributed network; distributed network (e.g., a network comprising the accused product with 802.11 b/g/n capability,
                            another product/device to which the accused product can communicate via 802.11a/b/n
                            communication, and several base stations).
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 141 of 187 PageID #: 161

EXHIBIT 2




                            https://www.3gpp.org/technologies/keywords-acronyms/98-lte




                            https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/tdd-fdd-td-
                            lte-duplex-schemes.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 142 of 187 PageID #: 162

EXHIBIT 2




                            https://www.electronics-notes.com/articles/connectivity/4g-lte-long-term-evolution/tdd-fdd-td-
                            lte-duplex-schemes.php
            Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 143 of 187 PageID #: 163

EXHIBIT 2




                            https://www.rcrwireless.com/20140509/evolved-packet-core-epc/lte-network-
                            diagram#prettyPhoto/5/
                Case 1:22-cv-01008-MN Document 1-2 Filed 07/30/22 Page 144 of 187 PageID #: 164

EXHIBIT 2




                                     http://hershenq.blogspot.com/2012/03/architecture-of-lte-network-and-working.html

first base station (BS) means,       The system utilized by the accused product comprises a first base station (BS) (e.g., a serving
located in, and part of, the FDD     cell for a user equipment), located in, and part of, the FDD distributed network, for transmitting,
distributed      network,      for   using radio waves, a first BS-packet signal (e.g., a reference signal) at a first frequency (e.g., a
transmitting, using radio waves, a   first frequency).
first BS-packet signal spread at a
first frequency;
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                            https://www.etsi.org/deliver/etsi_ts/136300_136399/136304/08.10.00_60/ts_136304v081000p.
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second base station means,           The system utilized by the accused product comprises a second base station (e.g., a cell other
located in, and part of, the FDD     than the serving cell of a user equipment), located in, and part of, the FDD distributed network,
distributed       network,     for   for transmitting, using radio waves, a second BS-packet signal (e.g., a reference signal) at a
transmitting, using radio waves, a   second frequency (e.g., inter-frequency cell reselection, a cell operates at different carrier
second BS-packet signal spread       frequency than the serving cell of a user equipment) , with the second frequency different from
signal at a second frequency, with   the first frequency.
the second frequency different
from the first frequency; and




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remote station (RS) means for           The system utilized by the accused product comprises a remote station (RS) (e.g., the accused
receiving the first BS-packet           product) for receiving the first BS-packet signal (e.g., a first reference signal from the serving
signal and the second BS-packet         cell) and the second BS-packet signal (e.g., a second reference signal from a cell other than the
signal, and thereby determining a       serving cell), and thereby determining a first RS-received signal (e.g., a demodulated signal from
first RS-received signal and a          a first reference signal received from the serving cell to determine RSRP value for inter-
second       RS-received      signal,   frequency cell reselection) to determine and a second RS-received signal (e.g., a demodulated
respectively; the RS means for          signal from a second reference signal received from a cell other than the serving cell to determine
monitoring a first signal metric of     RSRP value for inter-frequency cell reselection), respectively. The accused product practices
the first BS-packet signal, RS          determining that a first signal (e.g., a first RSRP value related to a first reference signal) falls
means for determining that the          below a threshold and that a second signal metric (e.g., a second RSRP value related to a second
first signal metric of falls below a    reference signal) of the second RS-received signal (e.g., a second reference signal received from
threshold, and that the second          a cell other than the serving cell) is above the threshold, and that the second base station has
signal metric is above the              available capacity (e.g., the accused product determines that a cell other than the serving cell is
threshold, and that the second base     suitable cell), thereby deciding to change base stations (e.g., inter-frequency cell reselection).
station has available capacity,
thereby determining to change           The accused product has LTE-FDD and 802.11 capabilities.
base stations.




                                        https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf
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                            https://www.nexgo.us/wp-content/uploads/2022/03/N5-02.22.pdf




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                            bands-channels-spectrum.php
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